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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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GIL V. PEREZ,

                                                             Plaintiff,
                                                                            DEFENDANTS’ NOTICE
                              -against-                                     OF MOTION FOR
                                                                            SUMMARY JUDGMENT
THE CITY OF NEW YORK and THE DEPARTMENT
OF CITYWIDE ADMINISTRATIVE SERVICES,                                        16-CV-7050 (PGG)(BCM)

                                                         Defendants.

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                 PLEASE TAKE NOTICE that, upon Defendants’ Local 56.1 Statement of

Undisputed Material Facts, dated March 29, 2019, the Declaration of Matthew J. Connahan,

dated March 29, 2019, and the exhibits annexed thereto, the Memorandum of Law in Support of

Defendants’ Motion for Summary Judgment, dated March 29, 2019, and upon all prior pleadings

and proceedings heretofore had herein, defendants will move this Court, before the Honorable

Paul G. Gardephe, United States District Judge, Southern District of New York, at the United

States Courthouse, Southern District of New York, 40 Foley Square, New York, New York, at a

date and time to be set by the Court, for an order, pursuant to Rule 56 of the Federal Rules of

Civil Procedure, granting summary judgment in favor of defendants on the ground that there is

no genuine issue of material fact to try, entering judgment for defendants, and granting

defendants costs, fees, and disbursements, together with such other and further relief as the Court

deems just and proper.
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                PLEASE TAKE FURTHER NOTICE, that, pursuant to the briefing schedule

ordered by the Court on February 19, 2019, opposition papers, if any, are to be served on or

before April 30, 2019. Reply papers, if any, are to be served and all papers filed on or before

May 13, 2019.

Dated:          New York, New York
                March 29, 2019


                                                   ZACHARY W. CARTER
                                                   Corporation Counsel of the
                                                    City of New York
                                                   Attorney for Defendants
                                                   100 Church Street, Room 2-112
                                                   New York, New York 10007-2601
                                                   (212) 356-4078
                                                   mconnaha@law.nyc.gov


                                           By:                      /s/
                                                              Matthew J. Connahan
                                                          Assistant Corporation Counsel



To:      Via First Class Mail
         Randy M. Kornfeld, Esq.
         Kornfeld & Associates, P.C.
         240 Madison Ave., 8th Floor
         New York, New York 10016
         Attorney for Plaintiff

         Paul C. Cavaliere, Esq.
         325 Broadway, Suite 302
         New York, New York 10007
         Attorney for Plaintiff




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          16-CV-7050 (PGG)(BCM)
          UNITED STATES DISTRICT COURT
          SOUTHERN DISTRICT OF NEW YORK
          GIL V. PEREZ,

                                                                                Plaintiff,

                                             -against-

          THE CITY OF NEW YORK and THE
          DEPARTMENT        OF      CITYWIDE
          ADMINISTRATIVE SERVICES ,

                                                                            Defendants.


              DEFENDANTS’ NOTICE OF MOTION FOR
                    SUMMARY JUDGMENT


                         ZACHARY W. CARTER
                  Corporation Counsel of the City of New York
                           Attorney for Defendants
                       100 Church Street, Room 2-112
                        New York, N.Y. 10007-2601

                         Of Counsel: Matthew J. Connahan
                               Tel: (212) 356-4078
                             mconnaha@law.nyc.gov



                                   Our No. 2016-033624
          Due and timely service is hereby admitted.

          New York, N.Y. ..................................................., 2019

          Signed: ............................................................................

          Attorney for ......................................................................
